Case 1-18-44427-cec   Doc 9-3   Filed 09/12/18   Entered 09/12/18 14:32:50




           EXHIBIT B
        Case 1-18-44427-cec                          Doc 9-3                           Filed 09/12/18                                                   Entered 09/12/18 14:32:50

    w                                                                                                        .
.                                                                                   SMC Consulting, Inc.


                                                                                                                                                                                                                             File Nc.          18-00126




                                                                                      APPRAISAL OF



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                                                                                       LOCATED AT:
                                                                                         20 Koenig Drive
                                                                              Oyster Bay Cove, NY 11771




                                                                               Lori   Cohen and Brian Cohen
                                                                                         20 Koenig Drive
                                                                               Oyster Bay Cove,     NY 11771



                                                                                             AS OF        :




                                                                                      September 2, 2018




                                                                                                BY:

                                                                                       Sundeep Chawla
                                                             NYS Certiiied Residential Real Estate Appraiser




                                                                                          Thank You
        Case 1-18-44427-cec                    Doc 9-3            Filed 09/12/18                 Entered 09/12/18 14:32:50

    ‘
_                                                               SMC Consulting, Inc.


                                                                                                                Flle No.   18-00126




                                                                                        V

                   09/05/2018




                                                                                                                                      I



                   Lori   Cohen and Brian Cohen
               20 Koenig Drive
               Oyster Bay Cove, NY 11771



               Flle       Number:   18-00126




               tn    accordance with your request,    I   have appralsed the real properly at:

                                                                   20 Koenig Drive
                                                             Oyster Bay Cove, NY 11771



              The purpose of lhls appraisal is to develop an opinion ofthe delined value of the subject property, as lmproved.
              The property rights appraised are       the fee simple interest ln the site and improvements.

              ln     my oplnlon, the deflned value of the property as of        September 2, 2018                         is:


                                                                     $1,050,000
                                                          One Million Fifty Thousand   Dollars



              The attached report contains the descrlptlon, analysts and supportive data           for the conclusions,
              tlnal       oplnlon of value. descrtptlve photographs. assignment condltlons and appropriate certlflcatlons.




              Sundeep Chawla
              NYS Certitied Residential Real Estate Appraiser                                                         ~




               `


                                                                    Thank You
                    Case 1-18-44427-cec                                                                Doc 9-3                     Filed 09/12/18                                       Entered 09/12/18 14:32:50

                                                                                                                                      Summary
        —
_
                                                                                                                Residential Appraisal Report                                                                                       nre na.    18·00126
                     The purpose cl this appratsalreport ls to provlde the client wllh a credlble oplnlon ofthe deflned value of the subject property. gtven the Intended use ofthe
                                                                                                                                                                                                                                   appralsat.

              m Ctent NamellnlendedUser Lori Cohen and Brian Cohen                                                                                E·matl    LRC2626 • aol.com
              g clientAddress 20 Koeni| Drive                                                                                                     c     O    ster Ba Cove                                                 Slate    NY                   Zl|   11771
              Q AddtlonaltntertdedUser s N/A
                     intended Use This                a · |raisal is bein| done for valuation |u |oses ont                                    .



                     Pro|              Address 20        Koeni| Drive                                                                                   O
                                                                                                                                                  Cl         ster Ba          Cove                                        state    NY                   Zl|   11771
             ta
                     ownerotPubltc Record Brian and Lori                           Cohen                                                                                                                                  coun         Nassau
             g       L|loescri|tton Section:                     27 Block: G                Lot:       1603 LotGrou|: 1603A 1603B
                               27 G 1603A
                    Assessors Parcel!                                                                                                             Tax Year 2018                                                           R.E.Taxes$          30 492
             W Ne |hborhoodName O ster
                                       Ba Cove                                                                                                    Ma|   Reference Ha|:         11 K-17                                    Census Tract 5182.01
             _       Pro|              Rl|htsA| |tsed            X   FeeStm|le             I    Leasehold        |Other        describe
                                                          X    dtd not reveal an   ·   orsales or transfers ofthe sub ect |rc| ~            for the three ears |rlorto the effective dale otlhtsa · |tatsat

                    PrtorSalefI'ransfer:                 Date    NIA                                         Prtce   N/A                          Source s    Geo Data and MLS
                    Analysts of prtor sate or transferhlstoryofttte subject property (and comparable sales. tf applicable)                                 N/A
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                    Olterings. options and contracts as of the etfecttvedate ofthe appratsat                          None/MLS.


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            8 NeighborhoodBoundaries O   ster Ba Harbor to the north S osset to the south East Norwich to                      86 Commercial       8%                                                   9100 Hl|h
                   the west andCove Road to the east.                                                            1350 Pred. 45    Other EdIRec     5% %
            g tlelghborhoodoescrlptlon The sub'ect is located in O ster Ba Inc Wla|e of O ster Ba Cove Town of O ster Ba section of Nassau
            Q Coun NY. lt is a residential locale convenient to all su · |ortin| facilities such as em |to ment centers schools sho| |in| |ubtic
               trans|ortation and recreation. The area is develo|ed with varie of residential use |ro|erties ma’ori sin|te famit maintained
            gl                                                                                                                                  in                                                                                                                                           ·

            Z      avera|e to |ood condition.
                   ltlartret   condtuons (lnctudlng support for me above conclusions)    Values currentl measure stable ln the sub'ect's market area over the |ast 12 months 1.
                   There is                still   a stron| demand for                             & tinancin| is still available at favorable rates & temts. Estimated marketirt|
                                                                                    |ro|erties in the area
                   time for com |etitivel                        |riced homes in the sub'ect market area is 3 to 6 months w/most bein| between 3 to 5 months.


                   Dirnenslons             Unknown Sub'ect to Surve                                          Area 2.32 Acre +/-                                   sha|e lrre| ular                                             vtew     N·Res·
                   s|‘tczonl                |classlncatton Unknown                                           zontn| oesat|tlon Sln|le         Famil Residence
                   Zon     ·
                               Com|ltance                                 L| |alNonconlormln| Grandfalhered Use                                                    t|at   describe
                   ls the highest and best use of the subject pmpertyas Improved (or as proposed per plans and spectltcaltons)the
                                                                                                                                                                    present use?             B Yes . No                       tf No.   describe.



                 UlllltIE$                      Publlc     Other describe                                                           Pubttc         Other describe                                 Ott-sItelm|r¤vements—T |e                                   Publtc


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            Lu                                                                                                                                                                                                                                                            Private
                   Electrlcl                                       Circuit Breakers                         Water                                                                                 Street     Macadam                                           |-I.
                 slte comments                     No a| |arent adverse easements or encroachments noted. T
                                                                                                            santta    Sewer           |-I                                                         Alle       None                                              I-II
                                                                                                                                                            |ical   utili      easements                |revail. Street and site                        a · |ear to be
                 ade|uate                       maintained;




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                 Year Butlt 1972                                                                                                                       Stonn Sashltrtsulaled       Yes                                        CarStora|e
                 Etlectttrelt|e              rs    35-40                                                                                               Screens                     Yes                                        |X   Drtvewa          lofCars       Multi
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                 Ftrttshedarea                           7 Rooms
                                           above |radecontatns:              4 Bedrooms        3.1 Bath s       3 209 S|uare Feelot Gross Llvin| Area Abovetirade
        §
        _ Admtlonat Features   Avera|e kitchen with a| |liances b Themnador and Kenmore. Avera|e bathrooms throu|hout. Thermat|ane windows.
              One wood bumin| tire|lace. Finished basementwith rec rooms media room two slee|in| areas cedar closet one full bath and one
              half bath. IIG |unite |ool. Sixs li|hts.
              Commentson the lmprovemenls The sub ect |ro|e   is a detached ranch s te home in avera|e minus condition overall with avera|e kitchen
              and bathrooms. The sub`ect |ro|e        has some visible deferred maintenance. The sub`ect's roof is in need of re |lacement the rear
              deck needs to be re|aired or re|laced due to missin| ftoorin| and hand railin|s. The basement ftoorin| was unfinished at the time of
              ins|ection due to a teak. The leak has been re|aired however the ftoorin| has not been re |laced, tn addition the entire home is in
              need of u|datin| throu|hout. See attached |ictures rettectin| deferred maintenance. The sub'ect |ro|e       consists of four bedrooms
              an eat in kitchen a dinin| are a livin| room a famit room a finished basementwith a full bath and a half bath below |rade three full
              baths above · rade and one half bath above |rade. No extemal obsolescence noted at time of ins|ection. All utilities were functional at
              the time of ins » ection.
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             Case 1-18-44427-cec                                                                                                 Doc 9-3                          Filed 09/12/18                                                 Entered 09/12/18 14:32:50




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                                                                                                                                                                           Summary
_                                                                                                                                              Residential Appraisal Report                                                                                              nre No.       1800125


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                                                                                                                                        rl    15.8%       s            1051750           Grim ···              11.6%            s           1027 950           Gros ··| 28.7% s                                1030 500
             Summa ofsales Com|a1tsonA||roach                                              See Attached Addendum.




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                              The Sales Com |arison anal sis is the most reliable method to derive an o|inion of site value because it is a direct
             Slle Value comments

           a| |tication of the interactions of bu ers and sellers. Site value o|inions are based on the extraction
                                                                                                                   method. The site value o |inion
           considers both size and util'     Site values in excess of 30% are common and do not adversel affect marketabili .
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    § See Attached Addendum.
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          Based on the scope ofwork. assumptions, llmltlng condltlonsand appralser's certlllcatlon,
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         that lsthesubjectof lhls repon Is$                                               1,050,000                                      as of O9/02/2018                                                                   ,whlchls the elfectlvedate ofthis appraisal.




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              Case 1-18-44427-cec




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                Case 1-18-44427-cec                                          Doc 9-3                        Filed 09/12/18                        Entered 09/12/18 14:32:50
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                                                                                                              Summary
_                                                                                     Resrdentral Apprarsal Report                                                                  nre rrr.    18-00126
                  Scope of Work, Assumptionsand Llmltlng Condltlons
                  Scope ofwork ls deflned In the Unlform Standardsof ProfesslonaIAppraIsalPracticeas “ the
                                                                                                               type and extentofresearch and analyses In an
                  asslgnment." In short, scope ofwork Is slmply what the appralserdldand dtd
                                                                                                not do durlng the course oftheasslgnment. It Includes, but ls not
                  Ilmltedto: the extent to whlch the propertyls ldenllfledand Inspected, the
                                                                                             type and extent ofdata researched, the type and extentof analyses applled
                  to arrlveat oplnlons or conclusions.

                  The scope of thls appralsal and ensulng dlscusslon ln thls report are speclflc to the needs ofthe
                                                                                                                    cllent, otherldentlftedIntended users and to the
                  Intended use ofthe report. `l11ls reportwas prepared forlhe sole and exclustve use ofthe
                                                                                                             ctlentand other                        IdentlttedIntended users forlhe Identtlted
                  Intendeduse and Its use byany otherpartles Is prohlblted. The appralserls not responsible
                                                                                                                                       for unauthorlzed use ofthe report.
                 `I'he appralser's
                                  certificationappearlng ln thls appralsalreportls subjectto the followlngcondlllons
                                                                                                                     and to such otherspeclflccondlllonsas are
                 set forth bythe appralserlnthe report. All extraordinaryassumptlonsand
                                                                                            hypotheticalcondlllonsare statedIn the report and mlght have affected the
                 asslgnmentresults.

                 1. The appralserassumes no responslblhtyfor matters of a legal nature affectlng the
                                                                                                     property appralsed or tllle thereto, nor does the appralserrenderany oplnlon as to the lttle, whlch ls
                 assumed to be good and marketable. The property ls appralsedas though under responsible
                                                                                                                     ownershlp.

        .        2.   Anysketch In thls report may show a pproxlmatedimensionsand ls Included only to asslst the readerln vtsuahzlngthe property.          1'he appralser has made no survey of the
                                                                                                                                                                                                       property.
                 3.   The appralserlsnot requlred I0 glve tesltmony or appearln court because of having made the appralsal
                                                                                                                                  wtth reference to the propeny ln questlon, unless arrangementshave been
                 prevlously made thereto.

                 4. Neither all, nor any part of the content of thls report, copy or other medta ttrereof
                                                                                                         (Includingconcluslonsas to the propertyvalue, the Identityofthe appralser. professlonal
                                                                                                                                                                                                    deslgnatlons,
                 or the t‘rrm with whlch the appralserlsconnected).shall be used for
                                                                                         any purposes by anyone but the cllentand other Intended users as ldentlfledln thls report. nor shall lt be conveyed
                                                                                                                                                                                                              by
                 anyone to the publicthrough advertising,pubic relations,news. sales, or other media, without the written
                                                                                                                             consentof the appralser.

                 5.   The appralser wttl not dlsclose the contents ot thls appralsalreport unless requtred
                                                                                                             by appltcablelaw or as specllted ln the Unltorm Standards of ProfesslonalAppralsal Pracllce.
                 6. Inforrnatton,estimates.and oplnlons lumtshed to the appralser, and
                                                                                           contained In the report. were obtained from sources considered rellableand belleved to be true
                                                                                                                                                                                                  and conect.
                 However. no responslbllltyfor accuracy ofsuch Items lumtshed to the appratserls assumed
                                                                                                                  by the appralser.
                 7.   The appralserassumes that there are no htdden orunapparentconditionsofthe property, subsoll, or structures.
                                                                                                                                  whlch would renderIt more or less valuable. The appralserassumes
                no responslblttyfor such condlllons, or for englneedng ortestlng, which mlght be requlred to dlscoversuch factors. Thls
                                                                                                                                        appratsalts not an envtronmentalassessmentofthe property and
                should not be constderedas such.

                8. The appraiserspedalizesIn the valuatlonof real property and ls not
                                                                                      a home Inspector,building contractor, stnrcturalengtneer, or slmilarexpert, unless otherwise noted. The appralser
                dd not conductthe Intenslvetype of fleldobservationsofthe klnd lnterrded to seek and dlscoverpropertydefects. The
                                                                                                                                          vlewlng ofthe propenyand any Improvementsls for purposes of
                developlngan oplnlon ofthe detinedvalue ofthe propeny, glven the Intended use of thls asslgnment.
                                                                                                                            Statementsregarding condltlonare based on surface observationsonly. The
                appralserclalrns no speclal expertiseregardingIssues Including,but not ltmlted to: foundatlon
                                                                                                                     settlement.basement molsture problems, wood deslroylng (or other) Insects, pest lnleslaltorr.
                radon gas, lead based palnt. mold or environmentalIssues. Unless otherwtse lnmcated,
                                                                                                     mechanlcalsystemswere not activated or tested.
                This appralsalreportshould not be used to dlsclose the conditionofthe property as It                                                     `l'he
                                                                                                            relates to the presencelabsenceof defects.           dlent ls lnvlted and encouraged to employ quatfled
                experts to Inspect and address areas ofconcem.       If negative conrhttonsare discovered, the    oplnlon ofvalue may be affected.

                Unless otherwtsenoted, the appralserassumes the componentsthat constltutethe subject
                                                                                                     property |mprovement(s) are fundamentallysoundand In
                worklng order.

                Anyvlmlng ofthe property by the appralserwaslimlted to readilyobservableareas. Unless otherwtse noted. attlcsand
                                                                                                                                 crawl space areas were not accessed. The appralserdtd not move
                fmrtlure. floor coverlngsor other ltenrs that may restrtctItre vlewlng of the
                                                                                                property.

                9. Appraisalslnvolvlnghypothetlcal conoitlonsrelated to completion ofnew construction, repalrs
                                                                                                                      or alteratlonare based on the assumptlonthat such completion,alteratlon or repalrs wllt
                be competentlyperformed.

                10. Unless the Intended use of thls appralsalspeclttcaltyIncludes Issues of property Insurancecoverage, thls appralsal
                                                                                                                                       should not be used for such proposes. Reproductionor
                Replacementcost flgures used In the cost approach are forvaluattonpurposes only. glven the Intended
                                                                                                                      use of the asslgnment. The Deltnltlonofvalueused In thls asslgnmentls unlkety
                to be consistentwith the detinitlonof insurableValue for propenyInsurance
                                                                                            coverageluse.

                11.   TheACI General PurposeAppraisalReport (GPARW) ls not Intendedforuse In tmnsactlonsthat requirea Fannle Mae 1004IFreddIe
                                                                                                                                                                                               Mac 70 fomr,
                also knownas the UnlfonnResIdentlalAppralsalReport (URAR).


                AddltlonalComments Related To Scope OfWork, Assumptions and LlmltlngCondltlons




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                  Case 1-18-44427-cec                                              Doc 9-3                Filed 09/12/18                              Entered 09/12/18 14:32:50
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                                                                                                                 Summary
_                                                                                        Residential Appraisal Report                                                                ne rn. teootza
                       Appralser'sCertification

                      The appralser(s)certllles that, to the best ofthe appralser‘sknowledgeand bellef:
                      1.   The statementsoffact containedIn thls report are true and conect.

                      2.   The reported analyses, oplnlons, and conclusions are limited only
                                                                                               by the reported assumptionsand limltlng conditionsand are the appraiserspersonal,impartial.and unbiased
                      prolesslonalanalyses.oplnlons,and conclusions.

                      3.   Unlessotherwise stated. the appraiser has no present or prospective Interest In the
                                                                                                                 property that ls the subject of thlsreport and has no personal Interestwith respect to the parties
                      Involved.


                      4.   The appralserhasno bias with respect to the propertythat ls the subject ofthlsreport or
                                                                                                                     lo the parties Involved with this assignment
        -
                      5.   The appraisers engagementIn thls assignmentwas not contingentupon developing or
                                                                                                                    reportingpredeterminedresults.

                      6.   The appraisers compensationfor comptetlng thls assignment Is not contingent
                                                                                                          upon the developmentor reporting of a predetemtlnedvalue or direction In value that favors the cause of
                      the dlent. the amount of the value oplnlon. the attainmentola
                                                                                      stipulated result. or the occunenceola subsequentevent dlrecttyrelated to the
                                                                                                                                                                         Intended use of thls appralsal.
                      7.   The appraisers analyses. oplnlons, and conclusions were developed. and thls repon
                                                                                                                  has been prepared. In conformitywith the Uniform Standards of ProlesslonalAppraisal Practice.
                      B.   Unless otherwise noted. the appraiser has made a personal Inspection ofthe
                                                                                                        property that Is the subject of thls repon.

                      9. Unless noted below, no one provided slgnlllcantreal property appraisal
                                                                                                   assistanceto the appraisersigning thls certlflcallon. Significantreal property appraisal assistance
                                                                                                                                                                                                       provided by




                     AddItIonaICertlIlcatlons:

                     See Addendum...




                     Deflnltlon ofValue:          X MarketValue              C] 0therVaIue:
                     Sourceotbennltton: Unifonn
                                              standards of professional appraisal practice.
                                          A
                     Market Value: type of value, stated as an opinion, that presumes the transfer of a
                                                                                                         property (i.e.,                                               A right of ownership or a bundle of
                     such rights) as of a certain date. The most probable price which a property should
                                                                                                        bring in a                                             competitive and
                                                                                                                                           open market under all
                     conditions requisite to         a fair sale, the buyer and seller each acting prudently, and knowledgeably, and assuming the price is not
                     affected by undue stimulus.




                  ADDRESS OF THE PROPERTYAPPRAISED:
                 20 Koenig Drive
                 Ogter Bay Cove, NY 11771
                 EFFECTNE DATE OF THE APPRAISAL: 09/02/2018
                 APPRAISEDVALUE OF THE SUBJECT PROPERTY S 1,050,000


                 APPRAISER                                                                                               SUPERVISORYAPPRAISER


                 Signature:
                                                                                                                         Signature:
                 Name:      Su         eep Chawla                                                                        Name:
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                 or Ucensertor
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                 orOther (describe):                                    State I:                                         State:
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                 Expiration Date ofCertificationor Ucense:     12/05/2018                                               Dale ol Signature:
                 Date oISlgnatureand Report:        09/05/2018                                                          Date of PropenyViewing:
                 Date of Property Viewing:          09/02/2018                                                          Degree ol propertyviewing:
                 Degree of property viewing:
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                                                                                                   SMC Consulting, Inc.
                Case 1-18-44427-cec                           Doc 9-3            Filed 09/12/18                  Entered 09/12/18 14:32:50
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                                                                                    ADDENDUM
        `
.               Client Lori Cohen and Brian Cohen                                                                     Flle No.:   18-00126
                Proggyrtlddressz 20 Koenig Drive                                                                      Case No.:
                City Oyster Bay Cove                                                                    Slate:   NY                      Zip:   11771




                      Additional Certifications:

                      25. I perfomted the appraisal as a complete summary report unless otherwise stated in the reconciliation statement.               The
                      departure rule does not apply.
                                                                                                `
                      27. All statements of fact in this appraisal report are true and correct.
                      28. I stated in this appraisal report only my own impartial analysis, opinions and conclusions which are subject to the
                      assumptions and  limiting conditions in this appraisal report.
                      29. l have no bias with respect to the property that is the subject of this report.
                      30. The reported analyses, opinions, and conclusions were developed. and this report has been prepared, in conformity with
                      the requirements of the Unifomi Standards of Professional Appraisal Practice(USPAP).
                      31. lhave met the appraisal continuing education requirements mandated by the state and, if applicable, the appraisal
                      organization of which    I   am a member.

                      Additional Scope of Work Comments:

                      t.   The Intended User of this appraisal report is the Client. The Intended Use is to evaluate the property that is the subject of
                                                 purposes only, subject to the stated Scope of Work, purpose of the appraisal, reporting
                      this appraisal for valuation
                      requirements of this appraisal report form, and Definition of Market Value. No additional Intended Users are identified by the
                      appraiser.
                      2.  A borrower or third party may receive a copy of the appraisal, however, it does not mean that the borrower or third party is
                      an intended user.
                      3. I am not a qualified engineer or home inspector and this report is not a home inspection. have only performed a visual
                                                                                                                       I

                      inspection of the accessible areas and the appraisal cannot be relied upon to disclose conditions and/or defects in the
                      property.
                      Comments on Sales Comparison

                      Location: Sale four was adjusted 5% to reflect it's inferior location in close proximity to a busy road.

                      Condition: The subject property is in average(minus) condition overall with average kitchen and bathrooms with some
                      visible deferred maintenance. Sale one was adjusted a negative 10% to reflect it's superior good condition. Sales two and
                      four were adjusted a negative 5% to reflect their slightly superior average condition overall. Sale five was adjusted a
                      negative 20% to reflect it's superior very good condition with modern kitchen and bathrooms. Note: The subject property's
                      deferred maintenance of the roof and deck was incorporated in the subject's average(minus)condition.

                      Site: Site was adjusted $100,000 per excess acre +/-.


                  Additional Adjustments: The appraiser adjusted $150 per Sq.Ft. to reflect differences in above grade GLA for homes 100
                  Sq. Ft. larger or smaller than the subject. The appraiser adjusted $20,000 perfull bath above grade, $10,000 per half bath
                  above grade, $10,000 per fireplace, $50,000 for in-ground pool versus none, $50,000 for tennis court versus none and
                  $25,000 for unfinished basement versus finished with an additional $10,000 per full bath below grade.

                  Estimate of Value: The appraiser applied a mid-range indicator to the closed sales utilized. The sales and listing utilized
                  were the best available at the time of inspection and after adjustment they are considered good indicators of market value.

                  Cost Approach Comments

                  Physical depreciation is calculated using the effective age/total economic life method. Estimated remaining economic life
                  (based on 60 years) is 20-25 years.

                  No items of functional or extemal obsolescence noted.

                  Residential construction costs in Nassau County are much higher than those indicated in the Residential Cost Handbook,
                  published by Marshall & Swift. The source of the cost estimates is our experience and knowledge conceming actual costs to
                  construct new housing in Nassau County ranging in quality from from average to excellent.

                  Replacement costs used inthe Cost Approach are used for valuation purposes only. No one, client or third party, should rely
                  on these figures for insurance purposes. The definition of 'market value' on page four of this appraisal report is not
                  consistent with 'insurable value'.

                  Final Reconciliation
                                                                                          _



                  I        as the appraiser, that have completed all aspects of this valuation, including reconciling my opinion of value, free
                      certify,                          I

                  of influence from the client, client's representatives, borrower, or any other party to the transaction.

                  I have no cunent or prospective interest in the subject property or the parties involved; and no services
                                                                                                                            were performed by
                  the appraiserwithin the 3 year period immediately preceding acceptance of this assignment, as an appraiser or in any
                  capacity.


                 The quality and quantity of data available was reconciled and analyzed within the approach(es) considered. The sales
                 comparison approach best reflects the interaction of buyers and sellers in this real estate market. The cost approach,
                 although completed per the lenders request, has little weight because of the difficulty of accurately estimating site value,
                 'as-is" value of the site improvements and accrued depreciation. The income approach is not applicable because
                                                                                                                                        sales of
                 properties that were rented at the time of sale are insufficient to derive a gross rent multiplier.


                 This appraisal was completed in conformance with `litle Xl of the Federal Financial Institution Reform, Recovery and
                 Enforcement Act of 1989 (FIRREA) and the Unifomr Standards of Professional Practice (USPAP) adopted by the Appraisal
                 Standards Board ofthe Appraisal Foundation. The market definition utilized in this report is developed by FIRREA and is the
                 same as indicated on page 4 of this appraisal report.




                                                                                 Addendun Page 1 ¤f2
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                                                                               ADDENDUM
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_               Client: Lori Cohen and Brian Cohen
                                                                                                                 Flle No.:   18-0¤126
                ProggyAddress: 20 Koenig Drive                                                                   Case No.:
                CM Oyster Bay Cove                                                                 State:   NY                      Zip:   11771




                   A reasonable exposure time for the subject at the estimated appraised value is three to six months (+/-) which is consistent
                   with the market in general in this price range.


                    Digital Signature


                   This report has been electronicallyprepared and transmitted to the client in compliance with the USPAP
                                                                                                                               guidelines which
                   includes verification ofthe complete file transfer and delivery. Digitally protected
                                                                                                        slgnature(s) have been used in this report
                   and adequate security measures are In place to protect the data transmitted by the appraiser.

                   The use of digital signatures are commonly used and are accepted by Fannie Mae, Freddie Mac and HUD.

                   Conditions of Appraisal

                   Appraisal is being done on a "as·is' basis and is for valuation purposes only. The appraisal is being prepared
                                                                                                                                  for Lori Cohen
                   and Brian Cohen, their successors and their assignees.




                                                                           Addendm Page 2 of2
        Case 1-18-44427-cec                               Doc 9-3                       Filed 09/12/18                                     Entered 09/12/18 14:32:50


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                                                                                   FLOORPLAN SKETCH
        Ciieni:    Lori Cohen   and Brian Cohen                                                                                                          File N0.:    18—O0126
         Progeny Address:20 Koenig Drive                                                                                                                 Case No.:
        Ci   :0    ster Ba   Cove                                                                                               Stale:     NY                               Zi|:   11771




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         Comments:




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            Roof in need of repair or replacement.                                                                                                                                                  Roof in need of repair or replacement.                                                                                                                             Two car garage,
                Case 1-18-44427-cec                                                                                               Doc 9-3                                                       Filed 09/12/18                                                      Entered 09/12/18 14:32:50
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                                                                                                                             COMPARABLE PROPERTY PHOTO ADDENDUM


        Cl           :0            sterBa Cove                                                                                                                                                                                                      Stale:     NY                    Zi|:   11771




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         CI     :0            ster Ba                 Cove                                                                                                                                                                                   Stale:               NY                   Zi|:   11771




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    Case 1-18-44427-cec                                                                           Doc 9-3                                                      Filed 09/12/18                                                                                     Entered 09/12/18 14:32:50


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    Client:         LoriCohen and Brian Cohen
                                                                                                                                                                                                                                                                        File N0.:               18-00126
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        Client                                                          Lon Cohen and Brian Cohen
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Case 1-18-44427-cec                                                 Doc 9-3               Filed 09/12/18                             Entered 09/12/18 14:32:50


                                                                                               FLOOD MAP
Clienl:     Cohen and Brian Cohen
          Lori
                                                                                                                                                    File N0.:   18-00126
Progeg Address. 20 Koenig Dnve
                                                                                                                                                    Case N0.:                                                 ·


Cl : O ster Ba Cove
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                                                                                    Subject
                                                                                    20 Koenig Drive
                                                                                    Oyster Bay Cove,           NY 11771
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         FLOOD INFORMATION                                                                                          LEGEND
         COmmlmIty: Village of OySI€l' Bay Cove                                                                                  FEMA Special Floor! Harard Aran — High Risk
         Properly is     NOT in a FEMA Special Flood Hazard Area
                                                                                                                    TT                                                                                        _




         Map Number: 36[]5gQ(]132G                                                                                          = Moclaraie and Mirtinial Risl: Areas
         Panel:   O'!   32G
                                                                                                                    Road View:
        Zone:    X
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         Map Date:       O9-'I `l—2OD9
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        FIPS: 36059

        Source: FEMA               DFIRM



                                                                                          Sky Flood"'
          Nc                  KT   t‘:Jn!7.’1!§ZIi{.7:7   hhj p3!¢y F!·!‘1* IXPHQ: EFI:              nf                                                               PI "zf-|r’:l[=!\IRI`in'} 1::
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                                                                                            Thank You
         Case 1-18-44427-cec                        Doc 9-3            Filed 09/12/18           Entered 09/12/18 14:32:50

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                                                                      SMC Consulting, Inc.


                                                                                                               Flle No.   18-00126




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                 File   Number: 18-00126                                             09/05/2018




                Lori Cohen and Brian Cohen                                  .



                20 Koenlg Drive
                Oyster Bay Cove, NY 11771




                lnvolce #      :              18-00126
                Order Date         :


                Reference/Case#          :


                PO Number:

                GPAR Form Single Family Appraisal Report

                20 Koenig Drive
                Oyster Bay Cove, NY 11771




                                             Appraisal services rendered.                                500.00
                                                                                                    $
                                                                                                    S


                                             Invoice Total                                          S   500.00
                                             State Sales Tax   @ 0%                                 S     0.00
                                             Deposit                                               (S   500.00     )
                                             Deposlt
                                                                                                   (S              )


                                             Amount Due                                             S       0.00




               Terms:     Paid In Full




               Please Make Check Payable To:


               SMC Consulting, Inc.
              702 Carlisle Road
              Jericho, NY 11753'


              Fed.   |.D. #:   XX-XXXXXXX

                                       Phone 516-375-4409 Fax 516-676-6042 E-mail: smcconsulting1@aoI.com
                                                                   Thank You




                                                                       Thank You
